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                                CERTIFICATE OF SERVICE

        I hereby certify that on December 22, 2015, I caused the foregoing Disclosure Statement

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